Case 1:17-cv-02041-RJL Document 158-15 Filed 07/08/21 Page 1 of 10




                 Exhibit L
 Case 1:17-cv-02041-RJL Document 158-15 Filed 07/08/21 Page 2 of 10




From: Josh Levy <jal@levyfirestone.com>
Subject: Re: Follow-Up & Request for Rule 7(m) Conference
Date: July 6, 2021 at 6:19:39 PM EDT
To: Joe Oliveri <joe@clarelocke.com>
Cc: Tom Clare <tom@clarelocke.com>, Andy Phillips <andy@clarelocke.com>,
Rachel Clattenburg <rmc@levyfirestone.com>, Andrew Sharp
<eas@levyfirestone.com>

Joe --

In our 7(m) call today, you said you were particularly
interested in learning whether Defendants' counsel have
made contact with Plaintiffs through anyone other than their
counsel. Putting to one side the communication between Bill
Taylor and Alex van der Zwaan that you brought to our
attention—and which we do not believe is a violation of any
rule—Defendants' counsel have not had any contact with
Plaintiffs through anyone other than their counsel and are
not aware of contact with Plaintiffs other than through
counsel, and we have previously assured you that
Defendants’ counsel will have no contacts with Plaintiffs
other than through their counsel in the future.


Josh


Joshua A. Levy
Partner

Levy | Firestone | Muse
1701 K Street NW, Suite 350, Washington, DC 20006
T
202-261-6564 • C 202-360-0677 • F 202-595-8253 • levyfirest
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From: Joe Oliveri <joe@clarelocke.com>
Sent: Friday, July 2, 2021 12:54 PM
To: Josh Levy <jal@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>; Andy Phillips
<andy@clarelocke.com>; Rachel Clattenburg
<rmc@levyfirestone.com>; Andrew Sharp
<eas@levyfirestone.com>
Subject: Re: Follow-Up & Request for Rule 7(m) Conference

Dear Josh:

I will circulate a dial-in for our Rule 7(m) conference on Tuesday,
July 6, at 1:30pm.

Best,
Joe

Joseph R. Oliveri | Partner
CLARE LOCKE LLP
 Case 1:17-cv-02041-RJL Document 158-15 Filed 07/08/21 Page 4 of 10




10 Prince Street | Alexandria, Virginia 22314
(202) 628-7405 - direct | (413) 657-6750 - cell
joe@clarelocke.com | www.clarelocke.com


From: Joshua Levy <jal@levyfirestone.com>
Date: Friday, July 2, 2021 at 11:59 AM
To: Joe Oliveri <joe@clarelocke.com>
Cc: Tom Clare <tom@clarelocke.com>, Andy Phillips
<andy@clarelocke.com>, Rachel Clattenburg
<rmc@levyfirestone.com>, Andrew Sharp
<eas@levyfirestone.com>
Subject: Re: Follow-Up & Request for Rule 7(m)
Conference
Resent-From: Proofpoint Essentials <do-not-
reply@proofpointessentials.com>
Resent-To: Joe Oliveri <joe@clarelocke.com>
Resent-Date: Friday, July 2, 2021 at 11:51 AM

Joe:

We are free on Tuesday, July 6 at 1:30pm for a Rule 7(m)
conference on the matter below. Please send us a dial-in for
the call. Thank you.

At that time, we can also hold the Rule 7(m) conference
requested in the attached June 30 email regarding
Defendants' motion for leave to file documents under seal,
unless you do not believe a Rule 7(m) is necessary.

Josh

Joshua A. Levy
Partner
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From: Joe Oliveri <joe@clarelocke.com>
Sent: Thursday, July 1, 2021 10:17 PM
To: Josh Levy <jal@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>; Andy Phillips
<andy@clarelocke.com>
Subject: Re: Follow-Up & Request for Rule 7(m) Conference

Dear Josh,
 Case 1:17-cv-02041-RJL Document 158-15 Filed 07/08/21 Page 6 of 10




Thank you for responding to my email. The email you forwarded
does not provide any of the information we requested—none of
which requests attorney-client privileged information. As you well
know, the factual information we have requested regarding Mr.
Taylor’s improper contact with our clients and whether you had
knowledge of or involvement in that contact does not request any
legal advice or other privileged information.

Please let us know when between now and Wednesday, July 7 at
5:00pm you are available for a Rule 7(m) conference.

Best,
Joe


Joseph R. Oliveri | Partner
CLARE LOCKE LLP
10 Prince Street | Alexandria, Virginia 22314
(202) 628-7405 - direct | (413) 657-6750 - cell
joe@clarelocke.com | www.clarelocke.com

Sent from my iPhone; please pardon the brevity



On Jul 1, 2021, at 8:25 PM, Josh Levy <jal@levyfirestone.com>
wrote:

Joe --

I responded to the questions below on May 17, 2021, in an
email (attached), and I understand that shortly thereafter
Tom Clare and Bill Taylor spoke. Having not heard back
from you until now, I had understood this matter had been
resolved. In the event you missed my May 17 email, I
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wanted to make sure you have it. If this matter remains
unresolved, please let me know. Thank you.

Josh

Joshua A. Levy
Partner

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under the U.S. Internal Revenue Code or (2) promoting, marketing or
recommending to another party any tax-related matters addressed herein.
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From: Joe Oliveri <joe@clarelocke.com>
Sent: Thursday, July 1, 2021 4:56 PM
 Case 1:17-cv-02041-RJL Document 158-15 Filed 07/08/21 Page 8 of 10




To: Josh Levy <jal@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>; Andy Phillips
<andy@clarelocke.com>
Subject: Follow-Up & Request for Rule 7(m) Conference

Dear Josh:

I hope this email finds you well.

As you will certainly recall, on April 16—over two-and-a-half
months ago—Tom raised with you the extremely concerning issue
of Defendants’ counsel (and former counsel of record in this case)
William “Bill” Taylor (a partner at Zuckerman Spaeder) calling
Plaintiff German Khan’s son-in-law Alex van der Zwaan and
making an explicit settlement overture to Mr. van der Zwaan and
encouraging him to take that message to Plaintiff Khan.

As Tom explained to you in his letter, you—and Mr. Taylor—
know (and have known) that Mr. Khan and the other Plaintiffs are
represented by counsel in this matter. And as a D.C.-licensed
attorney, you know that D.C. Rule of Professional Conduct 4.2(a)
provides that “a lawyer shall not communicate or cause another to
communicate about the subject of the representation with a person
known to be represented by another lawyer in the matter,” and that
that rule is violated where an attorney attempts “to establish ... a
backchannel of communication” with the represented party). See
Annapolis Citizens Class Overcharged for Water-Sewer by
Loudon Operations, LLC v. Stantec, Inc., No. 20-cv-2603, 2021
WL 75766, at *4 (D.D.C. Jan. 8, 2021).

Thus, Tom asked you to provide three pieces of information:
1. Please confirm that you were not aware of Mr. Taylor’s effort
and that you did not authorize it.
2. We would like to know how this effort came about, and who
did authorize it.
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3. Please confirm that there have not been—and that there will not
be—any similar clandestine attempts by counsel for Defendants to
skirt the prohibitions on communications with parties represented
by counsel.

But you ignored Tom’s letter. As such, we repeatedly re-raised
this extremely troubling issue with you—including in Tom’s April
28 email to you, in my May 12 letter to you, and in my multiple
May 13 emails to you. Each and every time, you ignored our
requests, even when you responded to other issues raised in our
correspondence.

Your refusal to provide answers to the above questions leaves us
no choice but to seek judicial relief regarding Mr. Taylor’s and
apparently your improper conduct, including violation of D.C.
Rule of Professional Conduct 4.2(a). As such, Plaintiffs intend to
file a Motion for an Order to Show Cause why both you and Mr.
Taylor should not be subject to sanctions for the blatant violation
of Rule 4.2(a).

Please let us know what date(s) and time(s) between now and
July 7 at 5pm that you are available for a telephone call to
discuss this matter. If you do not respond with available dates/
times, we will understand that as your refusal to participate in
a Rule 7(m) meeting, and Plaintiffs will consider their Rule
7(m) obligations discharged.

Sincerely,
Joe

Joseph R. Oliveri | Partner
CLARE LOCKE LLP
10 Prince Street | Alexandria, Virginia 22314
(202) 628-7405 - direct | (413) 657-6750 - cell
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<2021.05.17 Email from J. Levy to J. Oliveri.pdf>
